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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                  Case No. 1:16-cv-20281-KMM

  DULCE ROJAS, individually and
  as natural guardian and parent
  of A.G.R., a minor,

                 Plaintiffs,

         v.

  UNITED STATES OF AMERICA,

                 Defendant.


               ORDER APPROVING SETTLEMENT ON BEHALF OF MINOR

         This matter is before the Court for approval of the settlement between the United States

  of America and Anthony Garcia Rojas, a minor by and through Dulce Rojas, as Parent and

  Natural Guardian of Anthony Garcia Rojas, a minor. Plaintiff Anthony Garcia Rojas, a minor, is

  represented by Guardian Ad Litem Sean Moughan, Esq. and Dulce Rojas, as his parent and

  Natural Guardian. Defendant United States of America is represented by its attorney of record.

         The complete and precise terms and conditions of the settlement are set forth in the

  Stipulation For Compromise Settlement And Release Of Federal Tort Claims Act Claims

  Pursuant To 28 U.S.C. § 2677 (hereinafter “Stipulation”) attached as Exhibits “A.” The Court is

  fully informed of the specifics of the full and final terms and conditions of the settlement,

  including the necessity of the approval by the Attorney General of the United States, and a

  dismissal of this action in its entirety with prejudice, with each party to bear its own costs,

  expenses, and fees, and with the Court expressly not retaining jurisdiction over the above-




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  captioned action, this settlement, or the United States. The Court finds that the terms and

  conditions of this settlement, as set forth in the Stipulation, are fair, reasonable, and in the best

  interests of Anthony Garcia Rojas, a minor.

          Accordingly, it is hereby ORDERED AND ADJUDGED that the settlement, as set forth

  in Exhibit A, is hereby approved. IT IS FURTHER ORDERED that Sean Moughan, Esq., as

  Guardian Ad Litem of Anthony Garcia Rojas, a minor, and Dulce Rojas and Edyn Garcia, as

  Parents and Natural Guardians of Anthony Garcia Rojas, a minor, are authorized and required to

  sign the Stipulation and any other documents that are necessary to consummate this settlement

  on behalf of Anthony Garcia Rojas, a minor.

          IT IS FURTHER ORDERED AND ADJUDGED that the settlement amount of Three

  Million Seventy-Five Thousand Dollars ($3,075,000.00) (hereinafter “Settlement Amount”) shall

  be distributed according to the terms and conditions of the Stipulation. With respect to the

  settlement check that will be made payable to the named Plaintiffs pursuant to Paragraph 3.a of

  the Stipulation, the Court hereby Orders Plaintiffs to endorse that settlement check over to their

  attorney to be deposited into the attorney’s client trust account to be used to pay the attorney’s

  fees, costs, and expenses herein approved and to pay any lien or claim for reimbursement.

          IT IS FURTHER ORDERED AND ADJUDGED that attorney’s fees in this action

  shall not exceed twenty-five percent (25%) of the Settlement Amount and shall be paid as

  provided in the Stipulation. The Court finds that the costs and expenses associated with the

  litigation are fair, reasonable, and necessary. IT IS FURTHER ORDERED that such costs and

  expenses are approved and are to be paid as provided in the Stipulation. The Court finds that

  Plaintiffs are legally responsible for any and all past, present, and future liens or claims for




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  payment or reimbursement, including any liens or claims for payment or reimbursement by

  Medicaid, Medicare, or healthcare providers, but excluding Tricare. The Court hereby Orders

  Plaintiffs, by and through his attorney, to satisfy or resolve any and all such past, present, and

  future liens or claims for payment or reimbursement asserted by any individual or entity,

  including Medicaid and Medicare, arising from the subject matter of this action. The Court

  further Orders that Plaintiffs, by and through their attorney, shall provide to the United States the

  information required by the Stipulation regarding the satisfaction or resolution of such liens or

  claims for payment or reimbursement within the time specified in said Stipulation.

         IT IS FURTHER ORDERED AND ADJUDGED that Plaintiffs, upon final execution

  of the Stipulation and upon receiving notice from the United States Attorney’s Office for the

  Southern District of Florida that the United States Attorney General (or the Attorney General’s

  designee) has approved the settlement and it has received the settlement check set forth in

  Paragraph 3 of the Stipulation, shall cause their attorney to file with this Court a dismissal of this

  action in its entirety with prejudice, with each party bearing its own costs, expenses, and fees.

  Upon entry of the order dismissing this action in its entirety with prejudice, with each party to

  bear its own costs, expenses, and fees, and the court expressly not retaining jurisdiction over the

  above-captioned action, this settlement, or the United States, the United States Attorney Office

  for the Southern District of Florida shall tender to Plaintiffs’ attorney said settlement check.

  Plaintiffs shall endorse the settlement check over to their attorney to be deposited in their

  attorney’s client trust account to facilitate the disbursement of the Settlement Amount as

  authorized by the approving court. Subject to the terms and conditions set forth in Paragraph 3

  of the Stipulation, Plaintiffs’ attorney shall distribute said Settlement Amount to the Plaintiffs




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  after paying or resolving any currently known lien or claim for reimbursement or payment for

  which Plaintiffs have agreed to be legally responsible under the terms of the Stipulation.

         DONE AND ORDERED in chambers at Miami, Florida, this                __ day of May, 2017.
                                                                          12th




                                                       ___________________________________
                                                       K. MICHAEL MOORE
                                                       UNITED STATES DISTRICT JUDGE

  Cc: Counsel of Record




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